8:13-cr-00043-JMG-FG3    Doc # 753   Filed: 10/26/15   Page 1 of 2 - Page ID # 3370




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-43

vs.                                                        ORDER

FRANCISCO JAVIER AVILA-
NUNEZ,

                  Defendant.

       This matter is before the Court on the defendant's motion for
appointment of counsel (filing 752). That motion will be denied.
       The defendant is seeking the appointment of counsel to assist him in
obtaining a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) and
U.S.S.G. Amend. 782. But there is no constitutional right to appointed
counsel in sentence modification proceedings under § 3582(c). United States
v. Harris, 568 F.3d 666, 669 (8th Cir. 2009). Nor does the defendant have a
right to appointed counsel under the Criminal Justice Act, 18 U.S.C. § 3006A.
Harris, 568 F.3d at 669. Whether to appoint counsel is, therefore, committed
to the discretion of the Court. See id. And the Court declines to appoint
counsel in this case because it is apparent that the motion the defendant
wants to file would be without merit.
       U.S.S.G. § Amend. 782 was effective November 1, 2014. The defendant
was sentenced on June 18, 2015. Filing 677. And the Court uses the
Guidelines Manual in effect on the date the defendant is sentenced. U.S.S.G.
§ 1B1.11(a). Accordingly, the defendant was sentenced pursuant to the
amended Guidelines—Amendment 782's two-level reduction had already
taken effect and was applied to him at sentencing. Filing 691 at 9, 14; filing
677; filing 678 at 1. In addition, the defendant's offense was and is subject to
a mandatory minimum sentence, and the defendant was sentenced to the
mandatory minimum. He is entitled to no further reduction. See, United
States v. McGuire, 524 F.3d 891, 892 (8th Cir. 2008); United States v. Peters,
524 F.3d 905, 907 (8th Cir. 2008).
       Accordingly, any motion for a sentence reduction based on Amendment
782 would be without merit, and there is no basis for appointing counsel.
8:13-cr-00043-JMG-FG3   Doc # 753   Filed: 10/26/15   Page 2 of 2 - Page ID # 3371




     IT IS ORDERED:

     1.    The defendant's motion for appointment of counsel (filing
           752) is denied.

     2.    The Clerk of the Court shall send a copy of this order to the
           defendant at his last known address.

     Dated this 26th day of October, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -2-
